               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION
                       3:21-cv-00171-RJC-WCM

ELECTROLYSIS PREVENTION                   )
SOLUTIONS LLC,                            )
                                          )
                   Plaintiff,             )                  ORDER
                                          )
v.                                        )
                                          )
DAIMLER TRUCK NORTH                       )
AMERICA LLC,                              )
                                          )
                   Defendant.             )
                                          )

       This matter is before the Court on a Motion for Admission Pro Hac Vice

and Affidavit (Doc. 247) filed by Jennifer K. Van Zant. The Motion indicates

that Ms. Van Zant, a member in good standing of the Bar of this Court, is local

counsel for Daimler Truck North America LLC and that she seeks the

admission of Nicholas A. Gallo, who the Motion represents as being a member

in good standing of the Bar of Georgia. It further appears that the requisite

admission fee has been paid, and that there is no opposition to the Motion.




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      Accordingly, the Court GRANTS the Motion (Doc. 247) and ADMITS

Nicholas A. Gallo to practice pro hac vice before the Court in this matter while

associated with local counsel.
                          Signed: January 8, 2025




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